                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      CASE NO. 3:13-00090
                                                   )      JUDGE SHARP
JUAN MEJIA-MIRANDA [10]                            )
ALMA YOSANA RAMOS-LIZARDO [13]                     )
                                                   )

                                         ORDER

       The plea hearings set for September 19, 2013, are hereby continued to Friday, September

20, 2013, at 10:30 a.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00090        Document 202      Filed 09/19/13     Page 1 of 1 PageID #: 742
